                                                                                                                 FORM 1
                                              Case 17-32886-hdh7   Doc 146
                                                               INDIVIDUAL     Filed
                                                                          ESTATE    05/27/20
                                                                                 PROPERTY     Entered
                                                                                           RECORD      05/27/20 11:42:22
                                                                                                  AND REPORT                                                                         Desc Main                           Page:       1
                                                                            Document      Page 1 of 2
                                                                                 ASSET CASES
Case No:             17-32886       HDH     Judge: HARLIN D. HALE                                                                              Trustee Name:                        DANIEL J. SHERMAN, TRUSTEE
Case Name:           KHAN GROUP, LLC                                                                                                           Date Filed (f) or Converted (c):     06/05/18 (c)
                                                                                                                                               341(a) Meeting Date:                 07/17/18
For Period Ending: 05/27/20                                                                                                                    Claims Bar Date:                     10/16/18



                                        1                                                    2                            3                          4                        5                                     6
                                                                                                               Estimated Net Value
                                                                                       Petition/          (Value Determined by Trustee,      Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                       Unscheduled            Less Liens, Exemptions,            Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                              Values                  and Other Costs)            OA=554(a) Abandon             the Estate

 1. WELLS FARGO CHECKING ACCOUNT                                                              1,024.99                          1,024.99                                             1,024.99                     FA
 2. WELLS FARGO SAVINGS ACCOUNT                                                                  47.58                              47.58                                               47.58                     FA
 3. TEXAS NATIONAL BANK CHECKING ACCOUNT                                                          0.00                               0.00                                                0.00                     FA
 4. ACCT. RECEIVABLE                                                                              0.00                               0.00                                                0.00                     FA
 5. 2013 DODGE GRAND CARAVAN                                                                      0.00                               0.00                                                0.00                     FA
     VEHICLE IS IN POSSESSION OF DEALER DUE TO
     NON-PAYMENT FOR PAST 6 MONTHS.
 6. REAL PROPERTY - 2000 LAMAR ST. SWEETWATER                                              113,260.00                          55,889.00                                           149,900.00                     FA
     *SECURED BY LIEN OF THACKER FAMILY INVESTMENT LTD.
     VALUE IS NOLAN COUNTY CAD
 7. FOOD PERMIT & COO - CITY OF SWEETWATER                                                        0.00                               0.00                                                0.00                     FA
 8. CAUSE OF ACTION AGAINST BENEVOLENT MGMT TRUST                                           Unknown                               100.00                                                 0.00                            100.00
     * WRONGFUL FORECLOSURE ADVERSARY PROCEEDING
     FILED AGAINST BENEVOLENT MANAGEMENT TRUST AND
     L.D. BROWN, TRUSTEE; ADVERSARY NO. 18-03027-HDH
     WRONGFUL FORECLOSURE & DAMAGES


     (VALUE OF PERSONAL PROPERTY?)

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                        $114,332.57                         $57,061.57                                          $150,972.57                           $100.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRUSTEE OBJECTED TO THE SECURED CLAIM FILED BY BENEVOLENT MANAGEMENT TRUST BECAUSE IT IS NO LONGER SECURED; AND ANSWER
   DATE IS 06/12/2020. WHEN THIS OBJECTION IS RESOLVED THE TFR WILL FOLLOW IMMEDIATELY. ESTIMATED DATE OF TFR 08/01/2020


   Initial Projected Date of Final Report (TFR): 07/01/19           Current Projected Date of Final Report (TFR): 08/01/20




LFORM1                                                                                                                                                                                                                            Ver: 22.02d
                                                                    FORM 1
                               Case 17-32886-hdh7   Doc 146
                                                INDIVIDUAL     Filed
                                                           ESTATE    05/27/20
                                                                  PROPERTY     Entered
                                                                            RECORD      05/27/20 11:42:22
                                                                                   AND REPORT                             Desc Main                   Page:      2
                                                             Document      Page 2 of 2
                                                                  ASSET CASES
Case No:     17-32886   HDH    Judge: HARLIN D. HALE                                   Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:   KHAN GROUP, LLC                                                          Date Filed (f) or Converted (c):   06/05/18 (c)
                                                                                      341(a) Meeting Date:               07/17/18
                                                                                      Claims Bar Date:                   10/16/18




LFORM1                                                                                                                                                        Ver: 22.02d
